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SUPPLEMENTAL DECLARATION OF JENNIFER BABAIE

LAS AMERICAS IMMIGRANT ADVOCACY CENTER

I, Jennifer Babaie, make the following declaration based on my personal knowledge and declare
under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correct.

il.

I am a licensed attorney and the Advocacy and Legal Services Director at Las Americas
Immigrant Advocacy Center, a nonprofit organization providing free legal services to
asylum seekers and detained immigrants in Texas and New Mexico. We conduct legal
screenings for detained individuals to assess eligibility for relief and provide
representation.

I am submitting this declaration to supplement the one that I submitted in this case at
ECF No. 2-15, Espinoza Escalona v. Noem, No. 25-cv-604 (D.D.C. Mar. 1, 2025).

Since the government began detaining people at Guantanamo Bay, we have attempted to
assist individuals held there. This has been difficult because the government has provided
no means of determining who is at Guantanamo without already knowing the individual’s
name, A-number, and nationality. This is different from detention centers located in the
United States, where we are able to go into the facility and meet with groups of people to
provide Know Your Rights presentations and conduct intakes.

We have been able to have one call each with two people at Guantanamo since
attempting to schedule calls since Friday, March 7, 2025. Prior to March 7, we did not
know how to schedule legal calls at Guantanamo. I have been included on all outgoing
email requests for legal phone calls and have reviewed all follow up email
communications between Las Americas and DHS in instances where I was not directly
included in the correspondence.

Attorney access at Guantanamo has been severely restricted. Unlike in ICE detention
centers, where legal calls can usually be arranged within 24 to 48 hours, there is no clear
timeline for scheduling calls at Guantanamo. Requests go unanswered, the phone system
is unreliable, and it is unclear whether detainees have any way to initiate contact with
legal service providers. We did not hear back about our requests for calls until March 10,
more than two days after the requests were sent, which did not provide us much notice.
Fortunately, we were able to move our schedules to accommodate those last-minute calls.

Based on Las Americas’ experience, even when calls do occur, they are plagued by
technical issues. The phone connections were poor, making it difficult to hear or
understand detainees. These issues are compounded for individuals who speak rare
dialects, as interpretation. services are harder to coordinate and more prone to errors over
the phone. Unlike in ICE facilities, where in-person visits allow for document exchanges,
nonverbal communication, and clearer interpretation, the phone-only system at
Guantanamo creates significant barriers to meaningful legal representation.

On March 10, 2025, a Las Americas intern spoke with an individual who had been
transferred from El Paso, Texas to Guantanamo in late February 2025 without prior
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notice to him, his attorney, or his family, effectively cutting him off from ongoing legal
representation and the ability to challenge the procedural posture of his case. While
detained in El Paso, he struggled to fully communicate his fear-based claim during his
CFI due to interpretation issues that repeated himself throughout his fear interview, and
as a result, critical aspects of his case were misinterpreted or omitted on the final fear
transcript. Rather than being given the opportunity to request a discretionary Notice to
Appear on the basis of these errors, or other possible discretionary legal avenues to
pursue a remedy of the language issues impacting his fear claim, he was transferred to
Guantanamo, where he did not have access to his attorney’s or his immediate family
members’ contact information. He stated that this contact information was with the
officials at the base but that he did not have access to it. As of the time of his call with
our office, he had yet to be given the telephone numbers of his family in the U.S. and of
his attorney or any instructions on how to reach them.

. This individual reported to us that there was no way to communicate with the outside

world from Guantanamo other than one five-minute call each day if you have a telephone
number of your family member memorized. He reported that U.S. government officials
or representatives told him not to disclose his location to anyone, even to his family. He
relayed how he felt extremely isolated because he could not speak with guards or other
detainees due to the language barrier. He did not understand what was happening around
him and had no access to religious services or prayer undisturbed. He told us he felt like
he was losing his mind.

The call with this individual lasted around one hour and nineteen minutes. During the
call, call quality was poor. The Las Americas intern conducting the call had to use a
telephonic interpreter via our partner linguistic interpretation service to meet this
individual’s language needs. Due to the call quality, format necessitated by the need for
language services and the limited technological resources offered to us or the potential
client on the part of the government, this involved our intern calling them with her
personal phone on speaker and calling the telephonic interpreter on an office phone on
speaker. Our intern then placed the microphones and speakers of each phone next to each
other throughout the duration of the call. At at least one point during the call, the
telephonic interpreter asked the potential client to repeat his answer due to call quality.

When our intern spoke with the guards at the beginning and end of the call, she could
hardly hear them.

On March 10, a legal assistant on staff spoke very briefly with another detainee. While
still detained in the United States, this individual wished to be returned to their home
country however this request was denied and they were transferred to Guantanamo
instead. Since being imprisoned in Guantanamo, they are held alone in their cells, in
solitary confinement.

On March 11, we planned to schedule follow up calls with both individuals we had
spoken to. When we looked them up on the ICE detainee locator on March 12, it showed
that they both are now detained in the United States, reflecting that they were transferred
back from Guantanamo to the United States since we last spoke to them on March 10.
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13. The lack of transparency surrounding attorney access at Guantanamo has directly
obstructed our ability to provide legal services. There is no clear process, no
accountability, and no reliable way to reach detainees. And it does not appear that the
detainees are told how to request calls with attorneys. Moreover, the constant transfers of
people make it extremely difficult to schedule calls as well. The government has offered
no functional system for legal communication, leaving people stranded and unable to
challenge their detention or deportation at Guantanamo.

Executed on the | at day of March, 2025, at El Paso, Texas.

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J ennifer Babale
Director of ba acy and Legal Services
Las Americas Immigrant Advocacy Center

